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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

       Criminal Case No. 21-cr-0229-RBJ

       UNITED STATES OF AMERICA,

                      Plaintiff,
       v.
            1. DAVITA INC.,
            2. KENT THIRY,

                      Defendants.

_____________________________________________________________________________

  DEFENDANTS’ JOINT MOTION FOR LEAVE TO FILE REPLY IN SUPPORT OF
 MOTION FOR EXTENSION OF TIME TO COMPLY WITH PROTECTIVE ORDER
_____________________________________________________________________________

       Defendants, DaVita Inc. (“DaVita”) and Kent Thiry (“Thiry”) request leave to file a Reply

in Support of Motion for Extension of Time to Comply With Protective Order. In support of this

request, Defendants state as follows:


       1.      On May 18, 2022, Defendants Filed a Motion for Extension of Time to Comply

with Protective Order. [ECF No. 271].

       2.      On May 20, 2022, the United States filed an Opposition to Defendants’ Motion.

[ECF No. 273].

       3.      The United States’ Opposition contains various factual inaccuracies, several of

which necessitate a Reply from Defendants. The Reply that Defendants plan to file if the Court

grants leave is attached as Exhibit A.




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       Dated: May 21, 2022                              Respectfully submitted,

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       Counsel for Defendant Kent Thiry                 Counsel for Defendant DaVita Inc.

                                CERTIFICATE OF SERVICE

       I certify that on May 21, 2022, I filed the above document with the Clerk of the Court
using CM/ECF, which will send electronic notification thereof to all registered counsel.

                                                    /s/ John F. Walsh III
                                                    John F. Walsh III




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